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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

   DOE et al,                                                  )
   Plaintiff,                                                  )
                                                               ) No. 3:22-CV-00049
   v.                                                          )
                                                               )
   MAST et al,                                                 )
   Defendant.                                                  )
                                                               )


        ORDER GRANTING PRO HAC VICE ADMISSION OF EHSON KASHFIPOUR

         Upon consideration of the Motion for Pro Hac Vice Admission of Ehson Kashfipour, it is

  hereby ORDERED that the motion is GRANTED.

         Ehson Kashfipour is admitted pro hac vice to appear and participate on behalf of

  Plaintiffs in the above-captioned matter.

  IT IS SO ORDERED.


  Date: _______________                                     ________________________
                                                            United States District Court
                                                            Western District of Virginia
